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UNITED sTATEs DISTRICT COURT IE,(L)ETRONICALLY FILED
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WELLS FARGO ADvlsoRs LLC,
Petitioner, 18 Civ. 6757 (PAE)

_V_

OPINION & ORDER

REAGAN TUCKER, BENJAMIN DOOLEY, and
l\/IARVIN GLASGOLD,

Respondents.

 

 

PAUL A. ENGELMAYER, District Judge:

Before the Court is a petition by Wells F argo Advisors LLC (“Wells Fargo”) to vacate an
arbitrator’s partial final clause construction arbitral award (the “Award”), which held that the
parties to an arbitration agreement consented there to class-wide arbitration Dkt. l.

The Award arises out of a dispute in which three former Wells F argo financial advisors_
Reagan Tucker, Benjamin Dooley, and Marvin Glasgold (collectively “Respondents”)_claim
that Wells F argo failed to pay them, and a putative class and collective, overtime pay required by
the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 el seq., and New York Labor Law
(“NYLL”), Art. 6, § 190 el seq., Art. 9, § 650 et seq.1 See Turnbull Decl. Ex. 4 (“Statement of
Claim”). Each Respondent is party to a “New Financial Advisor Training Agreement” (the
“Agreement”) which, with limited exceptions, provides for the arbitration of disputes See

Turnbull Decl. Ex. l (“Agreement” or “Tucker Agreement”).2

 

l Respondents also brought claims against Wells Fargo & Company, which is not a party to this
lawsuit. See Dkt 7 (“Turnbull Decl.”) Ex. 9 (“Award”) at ll.

2 The Court cites here to the Tucker Agreement as exemplary of the Agreement because the
relevant portion of each of the three signed agreements, Paragraph l4, is identical.

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Having failed in its chosen arbitral forum to limit the scope of the arbitral proceedings
authorized by the Agreement to individual (non-class) proceedings, Wells Fargo now asks this
Court to intervene. lt asks, inter alia, that the Court vacate the arbitrator’s construction of the
Agreement and “[i]ssue an Order directing Respondents that they must arbitrate their claims”
individually, on a non-class basis. Dkt. l.

For the reasons that follow, the Court denies Wells Fargo’s petition.

I. Background3

A. Factual Background and Procedural History

Respondents were all financial advisors working at Wells Fargo branch offices in either
New York or Texas. See Dkt. 3 at 2 (“Pet’r Mem.”); Dkt. 20 at 2 (“Resp’t Mem.”). In 20ll and
20l3, Respondents and Wells F argo entered into employment agreements See Award at l.
Each Agreement contains an alternate dispute resolution provision that requires the parties to
resolve any dispute, with certain exceptions, through arbitration See Tucker Agreement1l 14.
Each Agreement provides for mandatory arbitration before either the Financial Industry
Regulatory Authority (“FINRA”) or the American Arbitration Association (“AAA”), pursuant to
its May l, 1993 rules. See id.

Respondents claim that Wells Fargo, in violation of the FLSA and NYLL, failed to pay

them for overtime work. See Award at 2. Respondents assert that Wells Fargo, per policy, did

 

.3 The Court draws these background facts principally from the Award, Dkt. 7 EX. 9, the Tucker
Agreement, and two decisions involving these arbitral proceedings: Wells Fargo Aa’vz’sors, L.L. C.
v. Tucker, 195 F. Supp. 3d 543 (S.D.N.Y. 2016), in which Judge Caproni held that the arbitrator
must decide the question of whether the Agreement provides for class arbitration; and Wells
Fargo Advisors, L.L.C. v. Sappl'ngton, 884 F.3d 392 (2d Cir. 2018) (“Sappl`ngton I”), which
affirmed that decision ln the latter, the Second Circuit consolidated for purposes of appeal two
separate actions brought against Wells Fargo_Tucker’s, and an action brought by financial
advisor Livia Sappington_because they raised the identical question of whether an arbitrator or
a court was to decide if the Agreement provided for class arbitration

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not correctly tabulate the hours worked by employees like Respondents in its Financial Advisor
Training Program, in that it “fail[ed] to use appropriate forms of wage statements for such
employees” and “misclassif`[ied] . . . employees in the ‘Apprentice Phase’ of the Program as
[being] exempt from overtime requirements.” See ia’.

Respondents sought to pursue their claims on a class-wide basis before FINRA. Award
at 2; see Tucker, 195 F. Supp. 3d at 545. Rule 13204 of the FINRA Code of Arbitration
Procedure for Industry Disputes, however, prohibits FINRA from presiding over class arbitration
actions. For that reason, FINRA declined to hear this dispute. The arbitration, therefore, has
proceeded before the AAA. See Award at 2; see also Tucker, 195 F. Supp. 3d at 546.

On September 30, 2015, Wells F argo filed an action in this District seeking a stay of the
arbitration to the extent brought on a class basis and an order compelling arbitration to proceed
on an individual basis. ln Tucker, Judge Caproni, to whom that action was assigned, denied
Wells Fargo’s application She held that, under the Agreement, it was for the arbitrator, not a
court, to decide whether the Agreement provided for class arbitration See Tucker, 195 F. Supp.
3d at 553; Award at 2. Wells Fargo appealed that decision

On March 7, 2018, the Second Circuit affirmed It held that the Agreement “clearly and
unmistakably expresses [the parties’] intent to let an arbitrator decide whether they agreed to
authorize class arbitration.” Sappinglon I, 884 F.3d at 394,' Award at 4.

On June 28, 2018, the arbitrator assigned to the Tucker arbitration, Edith N. Dineen (the
“Arbitrator”), issued a Partial Final Clause Construction Award, the decision at issue here. She
construed the Agreement to allow Respondents “to pursue class claims in this arbitration.”

Award at 2l.

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On July 27, 2018, Wells Fargo filed a petition in this Court to vacate the Arbitrator’s
clause construction award insofar as it construed the Agreement to allow Respondents to permit
class arbitration, Dkt. l, and an accompanying memorandum of law, Pet’r Mem. On August 23,
2018, Respondents filed a memorandum of law in opposition to the motion to vacate. Resp’t
Mem. On September 6, 2018, Wells Fargo filed a reply. Dkt. 21 (“Pet’r Reply”).

II. Applicable Legal Standards

The Federal Arbitration Act (“FAA”) authorizes a district court to review an arbitral
award and to “confirm and/or vacate the award, either in whole or in part.” D.H. Blair & C0. v.
Gol'ta’iener, 462 F.3d 95, 104 (2d Cir. 2006). Specifically, the FAA permits any party to an
arbitration to seek vacatur of an award where the arbitrator, inter alia, “exceeded [her] powers,
or so imperfectly executed them that a mutual, final, and definite award upon the subject matter
submitted was not made.” 9 U.S.C. § 10(a)(4). The moving party bears “the burden of proof,
and the showing required to avoid confirmation is very high.” Wells Fargo Aa’visors, LLC v.
Sappington, 328 F. Supp. 3d 317, 322 (S.D.N.Y. 2018) (“Sappington Il”) (quoting
STMicroelectronics, N. V. v. Credil Suisse Sec. (USA) LLC, 648 F.3d 68, 74 (2d Cir. 2011). The
Court’s review is “severely limited, so as not to frustrate the twin goals of arbitration, namely,
settling disputes efficiently and avoiding long and expensive litigation.” Scana'inavian Rez'ns.
C0. v. Saint Paul Fire & Marine Ins. Co., 668 F.3d 60, 71-72 (2d Cir. 2012) (internal citations
omitted). Accordingly, the Court owes “strong deference” to “arbitral awards and the arbitral
process.” Porzig v. Dresa’ner, Kleinwort, Benson, N. Am. LLC, 497 F.3d 133, 138 (2d Cir.
2007).

The Second Circuit has held that “[a]n arbitrator exceeds [her] authority only by

(1) ‘considering issues beyond those the parties have submitted for [her] consideration,’ or

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(2) ‘reaching issues clearly prohibited by law or by the terms of the parties’ agreement.”’
Anl‘hony v. Af/l`liatea’ Compul'er Servs., Inc., 621 F. App’x 49, 51 (2d Cir. 2015) (quoting Jock v.
Sterlz`ng .]ewelers, Inc., 646 F.3d 113, 122 (2d Cir. 2011), cerl’. denied, 565 U.S. 1259 (2012)
(“Jock IV”)). The Second Circuit has “consistently accorded [Section 10(a)(4)] the narrowest of
readings.” Anthony, 621 F. App’x at 50-51. Whether the arbitrator correctly decided an issue is
not the question before the reviewing court. See ia’. at 52.

An arbitral award may also be vacated if it exhibits a “manifest disregard” of the law.
Tully Constr. C0. v. Canam Sleel Corp., 684 F. App’x 24, 26 (2d Cir. 2017) (citation omitted).
“The manifest disregard standard, rather than substantially broadening the grounds for vacatur,
largely operates as a judicial gloss on the specific grounds for vacatur enumerated in section 10
of the FAA.” Benihana, Inc. v. Bem'hana of T okyo, LLC, 15 Civ. 7428 (PAE), 2016 WL
3913599, at * 10 (S.D.N.Y. July 15, 2016) (citation and internal quotation marks omitted). The
moving party bears the heavy burden of showing that (1) “the law that was allegedly ignored was
clear, and in fact explicitly applicable to the matter before the arbitrators,” (2) “the law was in
fact improperly applied, leading to an erroneous outcome,” and (3) “the arbitrator . . . kn[ew] of
its existence, and its applicability to the problem before him.” Duferco Int ’l Steel Traa'ing v. T.
Klaveness Shipping A/S, 333 F.3d 383, 390 (2d Cir. 2003). The Second Circuit has emphasized
that vacating an arbitral award for manifest disregard of the law “is a doctrine of last resort,”
reserved for “those exceedingly rare instances where some egregious impropriety on the part of
the arbitrators is apparent but where none of the provisions of the FAA apply.” Icl. at 389.
Accordingly, manifest disregard of the law “means more than error or misunderstanding with

respect to the law.” Merrill Lynch, Pz`erce, Fenner & Smith, lnc. v. Bobker, 808 F.2d 930, 933

(2d cir. 1986).

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Under either standard, the petitioner must do more than show “that the [arbitrator]
committed an error_or even a serious error.” Ia’. lnstead, under the FAA, “[i]f there is ‘even a
barely colorable justification for the outcome reached,’ the court must confirm the arbitration
award.” Willemijn Houdstermaal'schappz`j, BVv. Standard Microsysl'ems Corp., 103 F.3d 9, 13
(2d Cir. 1997) (quoting Matter ofAna’ros Compania Marilima, S.A., 579 F.2d 691, 704 (2d Cir.
1978)).

This case calls for application of these principles in the context of a contract dispute, In
this context, the Supreme Court has instructed, “[i]t is only when an arbitrator strays from
interpretation and application of the agreement and effectively dispenses his own brand of
industrial justice that his decision may be unenforceable.” SIolt-Nielsen, 559 U.S. at 671 (2010)
(alterations, citations, and internal quotation marks omitted). The Court, therefore, must confirm
arbitration awards despite “serious reservations about the soundness of the arbitrator’s reading of
th[e] contract.” Weslerbeke Corp. v. Daihatsu Motor C0., 304 F.3d 200, 216 n.10 (2d Cir. 2002).
“Whether the arbitrators misconstrued a contract is not open to judicial review.” Bernhara't v.
Polygraphic C0. 0fAm., 350 U.S. 198, 203 n.4 (1956)) (citations omitted). In addition, “vacatur
for manifest disregard of a commercial contract is appropriate only if the arbitral award
contradicts an express and unambiguous term of the contract or if the award so far departs from
the terms of the agreement that it is not even arguably derived from the contract.” Weslerbeke,
304 F.3d at 222.

III. Discussion

The arbitration provision construed here, Paragraph 14 of the Agreement, reads in

relevant part:

You are agreeing to arbitrate any dispute, claim, or controversy that may arise
between you and Wells Fargo advisors, or a client, or any other person . . . and are

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giving up the right to sue Wells F argo Advisors, its subsidiaries or employees or

any client or any other person in court concerning matters relating to or arising

from your employment
Agreement 11 14. The provision states that “[s]pecifically EXCLUDED from this obligation to
arbitrate are any claims for State unemployment insurance (i.e., unemployment compensation,
workers’ compensation, work disability compensation or claims under the National Labor
Relations Act”).” ]d. lt further excludes claims under an employee benefit plan. Id.

The Arbitrator’s Award construing Paragraph 14, which followed four rounds of briefing
and the submission of approximately 200 judicial and arbitral authorities, Award at 4, contains
17 pages of analysis ln them, the Arbitrator explains at length the basis for her determination
that Paragraph 14 permits Tucker, Dooley, and Glasgold to pursue class claims on behalf of
other Wells Fargo financial advisors See ia'. at 4-21.

The Arbitrator first reviewed the legal standards governing construction of an arbitration
clause. The Arbitrator drew on decisions applying the FAA from the Supreme Court, including
Sloll-Nielson and Oxfora' Heall‘h Plczns LLC v. Sulter, 569 U.S. 564 (2013), and lower federal
courts, see Award at 4-7. Based on this authority, the Arbitrator reasoned that the decisive issue
is whether the parties had agreed to authorize class arbitration, and that this question does not
necessarily turn on whether the arbitral provision expressly used the word “class” or the term
“class arbitration.” Id. at 6-7.

The Arbitrator then interpreted the arbitration clause at issue. She inquired “whether
there are contractual grounds for class arbitration,” while observing that there is “no definitive
Supreme Court guidance as to exactly what is needed to constitute an adequate contractual basis

for class arbitration,” and that each side had marshaled lower-court authorities in support of its

construction Ia’. at 7. The Arbitrator closely parsed the text of Paragraph 14, including

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examining dictionary definitions of the words “dispute,” “controversy,” and “claim.” Id. at 9-
10. The Arbitrator considered Respondents’ arguments, including that the Agreement’s use of
the word “any” in preface to these terms signified a “comprehensive and all-encompassing”
obligation to arbitrate that included “both individual and class-based claims,” id. at 10, and that
the arbitral clause’s express exclusion of certain claims, but not representational claims, was to
the same effect, id. The Arbitrator also considered Wells Fargo’s competing arguments These
included the following: that the absence of an express reference to class arbitration indicates the
lack of mutual assent to such arbitration; that there is a distinction between a class action as a
procedural mechanism to resolve “any dispute, claim or controversy” and the “dispute, claim, or
controversy itself ’; and that the words “you” and “your” in Paragraph 14 refer solely to the
person who signed the Agreement at issue, therefore limiting the arbitration commitment “to
individual bilateral disputes.” Id. at 10~11.

The Arbitrator ultimately found Respondents’ “interpretation of the Agreements to be in
closer keeping with the properly understood principles of Sloll'-Nielson and other governing
authorities.” Ia’. at 11. The Arbitrator recited three reasons for this determination

First, the language of the agreement, considered in light of case law applying such
provisions, was “sufficient to conclude that there was implicit consent to assertion of class
claims in arbitration even though the word ‘class’ was not expressly used in the Agreements.”
Id.; see also id. at 11-15. Second, “other factors” identified as relevant in Stolt-Nielson and
ensuing precedents to arbitral clause construction reinforced that there had been an agreement to
arbitrate class claims. Id. at 15. These included the relative sophistication of the parties, Wells
Fargo’s authorship of the Agreement, and evidence that the pursuit of class claims in arbitration

was “by no means novel” at the time Wells Fargo “required Claimants to sign the Agreement in

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2011-2013.” Icl. at 15-17. Third, the Agreement did not include any mention or warning of a
waiver of class claims Instead, it overtly waived only “suing in court and having a jury trial.”
Ia’. at 18; see also id. at 19 (“Nothing in the Agreements would have reasonably caused someone
being asked to sign them to %pe_ctthe interpretation and result now urged by [Wells Fargo]_
namely[,] a total waiver of the right to pursue a claim on behalf of oneself and others similarly
situated.”). The Arbitrator concluded by considering, but not finding dispositive, various
decisions cited by Wells Fargo. la’. at 19-20.

In now pursuing vacatur of the Award, Wells Fargo makes two broad arguments

First, Wells Fargo contends that the Arbitrator exceeded her authority by (1) allowing an
agreement to permit class arbitration to be inferred, rather than textually explicit, and, ostensibly,
requiring a party seeking to preclude class arbitration to include a provision explicitly waiving
class arbitration; (2) in interpreting the Agreement, considering evidence beyond the four corners
of the Agreement; and (3) issuing a clause construction award that, ostensibly, binds the absent
members of the purported class.

Second, Wells F argo argues that the Arbitrator manifestly disregarded the law in reaching
her decision, specifically by ignoring holdings of the Supreme Court in Slolt-Nl`elsen. The Court
addresses each argument in turn.

A. The Arbitrator Did Not Exceed Her Powers

1. The Arbitrator’s Construction of the Agreements Under Stolt-
Nielsen

Wells Fargo argues, first, that the Agreements did not provide a contractual basis for the
Arbitrator to find that the Agreements implicitly allowed for class arbitration See Pet’r Mem.
at 6. The Arbitrator, therefore, exceeded her authority, according to Wells Fargo, by “requiring

that the Agreements affirmatively exclude class procedures or else be presumed to include

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them.” Ia’. at 7. Wells Fargo argues that such a requirement conflicts with the Supreme Court’s
holding in Stolt-Nielsen.

Wells Fargo misreads Stolt-Nielsen and, therefore, mischaracterizes the Arbitrator as
having exceeded her authority under that decision Although Wells Fargo correctly observes that
Stolt-Nz'elsen “require[s] that class arbitration procedures only be allowed where there is a
contractual basis for doing so,” ial at 4, it overreaches in reading “contractual basis” to mean
only “expressly allowed.” Wells Fargo portrays Stolt-Nielsen to bar finding an agreement to
allow class arbitration except where an explicit statement to that effect appears in an arbitral
agreement However, as the Arbitrator rightly explained, Stoll'-Nielsen does not say that. Stolt-
Nz`elson does not preclude the possibility that an agreement to permit class arbitration could be
found based on implicit evidence of agreement See Award at 5. The Supreme Court instead
held that “[a]n implicit agreement to authorize class action arbitration . . . is not a term that the
arbitrator may infer solely from the fact of the parties’ agreement to arbitrate.” Stoll-Nielsen,
599 U.S. at 685 (emphasis added). But that holding, and the Court’s analysis, does not preclude
inferring such mutual assent from textual cues within the arbitral agreement

As a result of its misreading of Stoll-Nz`elson to categorically preclude finding agreements
to class arbitration in the absence of explicit language, Wells Fargo depicts the Arbitrator as
having flouted a limit on her authority imposed by Sloll-Nielson. That is wrong. ln fact, the
Arbitrator addressed a question not squarely resolved by Sl'oll'-Nielson: Whether assent to class
arbitration, in the absence of an explicit textual command, can be inferred from implicit textual
cues. The Arbitrator found the answer to be yes, while recognizing the divided lower-court case
authority on this point, and she made implicit evidence of such intent in the Agreement’s text the

primary basis for her construction of Paragraph 14 to permit class arbitration Award at 11.

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None of this flouted any restriction imposed by Sloll-Nl'elson so as to exceed the Arbitrator’s
authority.

To be sure, Wells Fargo was at liberty before the Arbitrator to argue that the principles of
StolI-Nielson would be most persuasively vindicated were that decision extended to categorically
bar courts and arbitrators from ever inferring agreements to class arbitration But, in the absence
of controlling case authority, the Arbitrator was within her authority to take a different view. Far
from violating limits imposed by Stolt-Nielsen, the Arbitrator carefully analyzed that decision
(and the ensuing body of law addressing the bases on which to find class arbitration), permissibly
arrived at the opposite conclusion (that an agreement as to this point can be express or implied),
and found on the facts here an implied agreement to permit class arbitration Wells Fargo may
now rue that the arbitral forum it chose has reached this outcome, and that this Court’s review is
limited to determining only whether the Arbitrator exceeded her broad authority, not whether she
was right or wrong. But that was a risk that Wells Fargo accepted when it selected arbitration as
the forum in which it would litigate employment disputes with the respondent financial advisors

Relatedly, Wells Fargo misrepresents the manner in which the Arbitrator interpreted the
parties’ Agreement en route to finding an implicit agreement to permit class arbitration Wells
Fargo casts the Arbitrator as “impos[ing] upon the parties an obligation to affirmatively disclaim
class action procedures,” Pet’r Mem. at 8, and urges that imposing such an obligation in order to
avoid class arbitration would exceed an arbitrator’s authority.

The Arbitrator, however, did not so hold. She did not require an express waiver of class
procedures for Wells Fargo to prevail in defeating an inference of assent to class arbitration
She merely found that where the Agreement did not speak expressly to the subject of class

arbitration, including by means of a waiver provision, state and federal law authorized her to

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analyze holistically the Agreement’s text to gauge the parties’ intentions as to class arbitration
She explained that “the FAA and state law principles of contractual interpretation[] . . . call for
the words of the contract to be given their plain and ordinary meaning, and for the Agreements to
be interpreted as a whole, in accordance with their own terms and the intent of the parties.”
Award at 8 (citing Stolt-Nielsen, 559 U.S. at 682; Dean Wil‘ter Reynola’s, Inc. v. Bira', 470 U.S.
213, 221 (1985); Um'on Elec. C0. v. AEGIS Energy Syna'z`cate 1225, 713 F.3d 366, 368 (8th Cir.
2013) (explaining Missouri law, which governed the Agreements here)). Wells F argo does not
cite any controlling law, including Slolt-Nielson, that precluded this interpretive approach. Quite
the contrary, as reflected above, the Arbitrator anchored her approach in substantial case law,
including Sl‘oll'-Nielson itself.

Because the Arbitrator did not require an express waiver to defeat a construction of the
Agreement to permit class arbitration, Wells Fargo’s claim that the Arbitrator exceeded her

authority in so requiring necessarily fails

2. The Arbitrator’s Construction of the Agreements Under Missouri
LaW

Wells Fargo next argues that the Arbitrator exceeded her authority by “rel[ying] on
evidence extrinsic to the Agreements themselves,” in alleged violation of governing Missouri
law and by, allegedly, misconstruing the Agreements. Pet’r Mem. at 9.

The Court emphasizes at the outset the narrow scope of its review. The question is not
whether the Arbitrator’s conclusion was correct It is whether she exceeded her powers “by
(1) considering issues beyond those the parties have submitted for h[er] consideration, or
(2) reaching issues clearly prohibited by law or by the terms of the parties’ agreement.”

Anthony, 621 F. App’x at 51. Neither ground for vacatur exists here.

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To the extent Wells Fargo faults the Arbitrator for considering extrinsic factors, as the
Court’s earlier summary reflects, the Award itself reflects that it was rooted in the text of the
Agreement. The Arbitrator devoted her initial analysis to the text, carefully considering a range
of potential inferences See Award at 7-15. She found the text ultimately determinative ln fact,
the header of the Award’s first point, which contained the Arbitrator’s textual analysis, reads:
“The language of the Agreements allows pursuit of class claims in arbitration.” Award, at 11.
To be sure, the Arbitrator went on to note that “other factors” supported this conclusion, namely,
“the inequality_in terms of both sophistication and bargaining power-between these
employees and their employer” and the prevalence of class claims in arbitration at the time of the
Agreement. Ia'. 15-18. Wells Fargo faults the arbitrator for addressing these matters Pet’r
Mem. at 9. But even assuming that these factors were not properly considered, the Arbitrator
discussed them only after she had engaged in a thoroughgoing analysis of the Agreement’s text,
and announced her conclusion that the text_the four corners of the Agreement_was dispositive
and revealed mutual agreement to class arbitration The Award makes clear that the Arbitrator
viewed these “other factors” as reinforcing_confirming_her text-based determination, rather
than as the source of her substantive ruling.

Wells Fargo’s reliance on this aspect of the Arbitrator’s discussion is misplaced for other
reasons lt is far from clear that it was impermissible for the Arbitrator to consider these other
factors The Arbitrator, in fact, cited StolI-Nz`elson itself as authority to do so. See Award at 15
(“ln Stolt~Nielson, the Supreme Court confirmed that factors concerning how the arbitration
contract was formed are relevant to a clause construction determination 559 U.S. at 684

(mentioning the sophistication of the parties, the presence [or absence] of a tradition of class

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arbitration under the applicable body of substantive law, and the identity of the drafter as factors
that would have been worthy of that arbitration panel’s consideration).”).

And it is by no means clear that Missouri law, on which Wells Fargo relies in claiming
error by the Arbitrator, precluded consideration of these factors Judge Caproni thoughtfully
analyzed this question in Sappington II, sapra. There, Wells Fargo, in a FLSA case brought by
other financial advisors, challenged a different arbitrator’s construction of the same arbitral
provision to imply an agreement to permit class arbitration The arbitrator there had cited a
Missouri appellate decision, Phipps v. School Disirict ofKansas Cily, 645 S.W.2d 91 (Mo. Ct.
App. 1982) “as authority permitting him to consider extrinsic evidence regardless of whether the
Agreements are ambiguous.” Sappingion ]1, 328 F. Supp. 3d at 326. Phipps had held that a
contract’s “component words and terms are interpreted according to the full circumstances of the
manifestation of intent event [and this rule] does not depend upon an ambiguity or
nonambiguity . . . .” Phipps, 645 S.W.2d at 101. And Judge Caproni, in her decision, marshaled
numerous examples in which Missouri courts have followed Phipps. Sappingion II, 328 F. Supp.
3d at 326 (collecting cases). There is, to be sure, contrary case authority, including a 2017
holding by the Missouri Supreme Court that “[i]f`a contract is unambiguous, the parties’ intent
may be gathered from the terms of the contract alone, and no extrinsic evidence may be
introduced to contradict the terms of the contract or to create an ambiguity.” State ex rel.
Greitens v.`Am. Tobacco Co., 509 S.W.3d 726, 741 (l\/Io. 2017). Although the Phipps line is in
apparent tension with Greitens, as Judge Caproni observed, the conflict can be resolved in two
ways: First, “extrinsic evidence could permissibly be used to interpret a term without varying or
contradicting it, which is forbidden.” Sappingion II, 328 F. Supp. 3d at 326. Second, “the

Supreme Court of Missouri in Greii'ens wrote that intent ‘may be gathered from the terms of the

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contract alone,’ not ‘must,’ which could provide leeway for courts to review extrinsic evidence
beyond the terms of a contract.” Ia'. Under either of these approaches, the Arbitrator’s
consideration of extrinsic evidence here would not have been error. Wells F argo thus has not
clearly established that the Arbitrator incorrectly applied Missouri law.

Finally, as Judge Caproni also recognized, “even if Wells Fargo were correct that the
Arbitrator misapplied Missouri law relative to interpretation of an unambiguous contract, that
does not provide a basis to vacate the [a]rbitrator’s decision.” Ia’. at 327. The Second Circuit has
repeatedly explained that courts reviewing arbitral awards must confirm the decision “even if the
ground for their decision is based on an error of fact or an error of law.” Willemijn
Houclsiermaatschappij, 103 F.3d at 13. The Supreme Court has also held that a court may not
review an arbitrator’s decision for legal error even if the parties expressly provided for that
standard of review in their contracts Hall Streei Assocz`ates, L.L.C. v. Maiiel, Inc., 552 U.S. 576,
585-86 (2008). “Because the parties ‘bargained for the arbitrator’s construction of their
agreement,’ an arbitral decision ‘even arguably construing or applying the contract’ must stand,
regardless of a court’s view of its (de)merits.” Oxfora' Heali'h Plans, 569 U.S. at 569 (quoting
E. Assocz`atea' Coal Corp. v. Mine Workers, 531 U.S. 57, 62 (2000); see also Url)an Assocs., Inc.
v. Stana'ex Elecs., Inc., No. 4:04-CV-40059, 2012 WL 1079723, *10 (E.D. Mich. Feb. 17, 2012)
(“[T]his is one of the very reasons parties choose arbitration_so that arbitrators may bring their
expertise to bear on an otherwise complicated matter outside the ken of a generalist judge or a
lay jury.”).

Wells Fargo separately protests various aspects of the Arbitrator’s textual analysis The

Court summarizes four.

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Wells Fargo first argues that the Arbitrator wrongly viewed the parties’ agreement to
“arbitrate any dispute, claim or controversy” as signifying that class claims were included,
Award at 11. Wells Fargo contends that “a ‘class-based claim’ is not a type of substantive claim
at all, but a shorthand description for a claim that is brought pursuant to class action procedures”
Pet’r Mem. at 13. “ln other words,” Wells Fargo argues, “while the Agreements are plainly
referring to any substantive type of ‘dispute, claim, or controversy,’ the arbitrator reads this
language to cover any form of dispute, claim, or controversy.” Ia’. Wells Fargo made that
argument before the Arbitrator, who, in turn, explicitly considered_and rej ected-it, stating that
the “distinction has no bearing on the clause construction question before me.” Award at 13,
n19. Wells Fargo argues that its textual inference is more persuasive But that is not an
available argument on judicial review of an arbitral ruling construing a contract. Regardless,
even if the textual inference Wells Fargo urges were superior to that drawn by the Arbitrator,
under settled law, an arbitrator’s misapplication of tenets of contractual construction does not
justify vacatur. See, e.g., Willeinijn Hoaclsiermaal'schappij, 103 F.3d at 14 (finding that
arbitrators’ decision was justifiable even though it was “based on an erroneous interpretation of
the law”).

Similarly, Wells F argo faults the Arbitrator for concluding that, while the Agreements
use the singular pronouns “you” and “your,” they reflect a commitment “to arbitrate ‘any
dispute, claim or controversy’ even if the claim may effect more than one employee,” Award at
13. Wells F argo faults the Arbitrator for, relatedly, opining that “[a]n employee’s claim against
[Wells Fargo] does not cease to be a dispute or controversy related to [his or her] employment
simply because the disagreement may also implicate[ ] similarly situated [persons].” Award at

13 (citing Mork v. Loraln Mainl‘enance of Way, Inc., 844 F. Supp. 2d 950, 955-56 (D. Minn.

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2012) (internal quotation marks omitted)). ‘Wells F argo notes that, “[a]t the time of
Respondents’ Agreements in 2011 through 2013, numerous courts held that arbitration
agreements incorporating singular pronouns such as ‘you’ and ‘l’_the same terms used in the
Agreements_manifest the intent for bilateral arbitration.” Pet’r Mem. at 10. Wells Fargo’s
memorandum does not collect these precedents But, even assuming arguendo that the weight of
case law supported Wells Fargo’s construction, that the Arbitrator’s contractual construction is
arguably inferior to Wells Fargo’s would not justify vacatur.

Third, the Arbitrator reasoned that by including the AAA as a permissible forum for
conducting this arbitration, the parties manifested their intent to allow class arbitration The
Arbitrator cited the AAA’s Employment Rule 39(d), which states that the “arbitrator may grant
any remedy or relief that would have been available to the parties had the matter been heard in
court . . . in accordance with applicable law.” Award at 13. Wells Fargo contends that the
Arbitrator errantly viewed class actions as “a type of remedy or relief,” when in fact they are
procedural mechanism. Pet’r Mem. at 13 (emphasis removed). But the Arbitrator’s analysis
could also fairly be read to convey that certain remedies and forms of relief protected by the
AAA’s Employment Rules require the availability of class procedures The Arbitrator found that
the language in the Agreements was similar to the contractual language at issue in the Jock v.
Sterling Jewelers, Inc., litigation, in which, in a series of decisions, the Second Circuit has
upheld the finding that the “entitlement to bring class claims was an integral part of what the
contract offered the they would otherwise be entitled to seek in court.” Award at 14 (citing Jock
IV, 646 F.3d at 124). ln any event, the Arbitrator’s analysis, grounded as it is in contractual text,

case law, and AAA rules referenced in the arbitral Agreement, is also within the ambit of the

Arbitrator’ s authority.

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Fourth, Wells Fargo faults the Arbitrator for inferring, based on the Agreement’s express
exclusion of certain types of claims (e.g., disability and ERISA claims), from the arbitral duty
implies that the parties did not intend to similarly exclude class arbitration See Award at 15
(“[T]hat the important subject of representational claims was not expressly contained in the list
of excluded matters points to the conclusion that they were meant to be included.”). Wells Fargo
contends that this logic would force a party seeking to avoid class arbitration to include an
express waiver of such procedure, in violation of Stolt-Nielsen’s teaching that an agreement to
arbitrate class claims cannot be inferred from the bare fact of an arbitral agreement itself. See
Pet’r Mem. at 8. But Wells Fargo errantly portrays the Arbitrator’s reasoning. The Arbitrator
did not hold that a party seeking to avoid class arbitration was required to expressly exclude it.
lnstead, as one part of her construction of the Agreement, she reasoned that, when the parties
have made the affirmative decision to exclude certain areas of litigation from the arbitration
obligation, a contrary inference may arise to non-excluded areas4 Persuasive or not, this act of
construction was well within the Arbitrator’s authority and is no basis for vacatur.

The broader response to Wells Fargo’s critiques of the Arbitrator’s construction of the
parties’ agreement is this: Whether the Arbitrator’s construction or Wells Fargo’s would prevail
on de novo review is beside the point. See Benihana, 2016 WL 3913599, at * 16 (“That the
[arbitral] panel exercised that latitude in a manner, or to reach an outcome, different than the
Court would have de novo, is of no moment”). Provided that the arbitrator recited a contractual

basis, persuasive or not, for the construction she reached, that decision may not be overturned

 

4 The Arbitrator further depicted this aspect of her textual analysis as confirming an outcome
independently reached See Award at 15 (failure to exclude class claims while excluding
substantive areas of litigation “[a]dd[s] weight to the conclusion that [the] language of the
Agreements does allow for class claims in arbitration.”).

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Id As the Supreme Court has frequently admonished parties that contemplate foregoing

conventional litigation for the expedient of arbitration:

The potential for [] mistakes is the price of agreeing to arbitrate As we have held

before, we hold again: “lt is the arbitrator’s construction of the contract which

was bargained for; and so far as the arbitrator’s decision concerns construction of

the contract, the courts have no business overruling him because their

interpretation of the contract is different from his.” The arbitrator’s construction

holds, however good, bad, or ugly.
Oxford Health Plans, 569 U.S. at 572-73 (quoting Uniied Sieelworkers ofAm. v. Enier. Wheel &
Car Corp., 363 U.S. 593, 599 (1960) (alteration and internal citation omitted). So too, here
Wells Fargo has failed to show that any errors in the Arbitrator’s construction of the Agreement
support vacatur.

3. The Effect of the Arbitrator’s Decision on Absent Class Members

Wells Fargo next attacks the Award by arguing that the Arbitrator exceeded her authority
by “purporting to issue an award which extends to absentee class members.” Pet’r Mem. at 6. ln
support, Wells F argo cites Judge Rakoff`s recent decision in Jock v. Sterling Jewelers, Inc., 284
F. Supp. 3d 566 (S.D.N.Y. 2018) (“Jock VI]”). As portrayed by Wells Fargo, Jock VII“held that
an arbitrator exceeded her authority in purporting to bind absent members of a purported class by
certifying a class which included absent members,” and “that absent members who have not
opted in to an arbitration action could not be bound by decisions issued in that arbitration.” Pet’r
Mem. at 6 (citing Jock VII, 284 F. Supp. 3d at 571). The Arbitrator in this case, Wells Fargo
contends, “ignores this caselaw entirely.” Id.

This argument also fails As Respondents recognize, Resp’t Mem. at 9, Jock VII arose in
a far different, and later, procedural posture The issue there involved the arbitral certification of

an opt-out class, such that members of that class who had not affirmatively opted out stood to be

bound by the arbitrator’s decision Judge Rakoff held that the arbitrator lacked authority to bind

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persons other than the named parties and others who chose to opt in to the proceeding .]ock VII,
284 F. Supp. 3d at 571. But the Award here does not certify a class at all. On the contrary, the
Award is explicit that it does not prejudge whether class certification would be appropriate
Award at 21 n27. A class may or may not be certified in this action in the future, and if a class
is certified, the class may or not be drawn to include opt-out members so as to implicate the
concerns raised in Jock VII. At this earlier procedural point, at which the sole issue is whether
the parties’ Agreement permits class treatment, Jock VI] is of no moment. The Court
accordingly rejects this line of attack, too.

B. The Arbitrator Did Not Manifestly Disregard the Law

The Court turns now to Wells Fargo’s final argument-that the Arbitrator manifestly
disregarded the law.

As reviewed earlier, the Arbitrator identified and discussed the applicable law at the
outset of the Award, She explained that two Supreme Court cases (Sioll-Nielsen and Oxford
Health Plans) were centrally important as to the “legal standard for determining if an arbitration
contract allows for class or collective arbitration.” Award at 4. Parsing those and other
decisions, the Arbitrator recognized that the Supreme Court had never held that a clause must
explicitly mention that the parties agree to class arbitration “for a decision-maker to conclude
that the parties consented to class arbitration.” Award at 5 (quotation and internal citations
omitted). The Arbitrator further recognized that Siolt-Nielsen does not foreclose the possibility
that a contract may implicitly reveal the parties’ agreement to class arbitration Award at 6,
citing Sioli-Nielsen, 599 U.S. at 685 . Accordingly, the Arbitrator reasoned, “omission of the

specific words ‘class’ or ‘class action”’ does not resolve the parties’ intent whether to authorize

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class arbitration, and this question must be considered in light of “the rest of the language used in
the arbitration contract.” Award at 6 (citing Oxford Healih Plans, 569 U.S. at 573).

As this synopsis and the preceding account reflects, the Arbitrator did not manifestly
disregard the law. lnstead, she explicitly acknowledged and sought to apply it, and Wells
Fargo’s claim that she manifestly disregarded the law borders perilously on the frivolous As in
Sappingion II, where Judge Caproni rejected a similar argument, Wells F argo does not offer any
“evidence that the Arbitrator committed more than error or misunderstanding with respect to the
law, if any error was committed at all. Sappingion 11, 328 F. Supp. 3d at 328 (citations omitted).

Although camouflaged to a degree by its briefs, Wells Fargo’s grievance is, at bottom,
not that clear and explicitly applicable law was ignored, as required to show manifest disregard
See Duferco lni 'l Sl’eel Trading, 333 F.3d at 390. lt is instead that the law as to what is needed to
infer an agreement for class arbitration, in the absence of explicit contractual authorization
remains unsettled

The Arbitrator acknowledged the uncertain state of the law in this area. See Award at 7
(“Unfortunately, . . . there is currently no definitive Supreme Court guidance as to exactly what
is needed to constitute an adequate contractual basis for class arbitration.” (emphasis added)).5
And she noted that “the losing side may be able to point to what is_at least apparently or
arguably_contrary authority.” Id. at 7 n.8. Although the Arbitrator does not canvass the
conflicting lower-court precedents each side had mustered on this issue, Judge Caproni’s opinion
in Sappingion 11 quite helpfully does See 328 F. Supp. 3d at 328_29 (“Compare Ra)ne, LLC v.

Popovich, 878 F. Supp. 2d 439, 448-52 (S.D.N.Y. 2012) (finding that arbitrator did not exceed

 

5 The Arbitrator, as noted, also acknowledged what is clear from Stolt-Nielsen: that consent to
class arbitration will noi' be implied where the parties’ agreement is silent regarding class
arbitration and where the parties stipulate that they did not make any agreement, one way or the
other, on the subject. Award at 6 (citing 559 U.S. at 687).

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her powers in determining that the availability of class arbitration was implied in a contract
featuring a broadly-worded arbitration provision that lacked a class action waiver), with Mallh v.
Showiime Networks Inc., No. 17 Civ. 6549 (DLC), 2017 WL 5157247, at *3-5 (S.D.N.Y, Nov.
7, 2017) (compelling individual arbitration for plaintiff bringing a putative class action where the
relevant agreement contained an arbitration clause and an explicit class action waiver ).”). The
Arbitrator then endeavored to apply the appropriate precedents to the Agreement at hand,
mindful that the lack of definite Supreme Court guidance inevitably meant that a decision in
either direction would be subject to some uncertainty. And her decision to treat Stoli-Nielsen as
leaving open the possibility of an implied agreement accords with Second Circuit law. See Jock
[V, 646 F3d at 123 (“Stolt-Nielsen does not foreclose the possibility that parties may reach an
implicit-_ rather than express_agreement to authorize class-action arbitration.” (citation and
internal quotation marks omitted)).

Thus, far from manifestly disregarding clearly applicable law, the Arbitrator identified
the relevant law, parsed it thoughtfully, and endeavored to apply it with considerable care The
Court, therefore, rejects Wells Fargo’s claim of manifest disregard as baseless6

CONCLUSION
For the foregoing reasons, in construing the Agreement to permit class arbitration, the

Arbitrator neither exceeded her powers nor manifestly disregarded the law. Accordingly, the

 

6 To the extent that Wells Fargo separately suggests that the Arbitrator manifestly disregarded
the law in considering extrinsic evidence, that argument, too, cannot secure it relief. Challenges
to an award based on the arbitrator’s alleged inappropriate consideration of extrinsic evidence,
even where such is found, do not warrant vacatur for manifest disregard of the law. See Perry v.
Kingsland CapiialMgmi. LLC, No. 16 Civ. 4305 (DAB), 2018 WL 1737237, at *3 (S.D.N.Y.
Mar. 20, 2018) (“[The arbitrator’s] interpretation of extrinsic evidence, though not necessary to
his holding, does not constitute manifest disregard of the law.”); Giller v. Oracle USA, lnc., No.
11 Civ. 02456 (JGK), 2012 WL 467323, at *6 (S.D.N.Y. Feb. 14, 2012) (explaining that
disregard of parol evidence rule does not constitute manifest disregard of the law), a]j”'d, 512 F.
App’x 71 (2d Cir. 2013),

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Court denies Wells Fargo’s motion to vacate the arbitral Awardl The Court respectfully directs

the Clerk of Court to terminate the motions pending at Dkts. 1 and 2 and to close this case

wil.ér(¢?;,/

SO ORDERED.

 

Paul A. Engelmayer
United States District Judge
Dated: January 2, 2019
New York, New York

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